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                                                      U.S. District Court


                                                    Ohio Southern - Cincinnati

                                                                                                          Receipt Date: Nov 20.2023 12:30PM
Ethics SCS Inc.



 RcpL No: 100002990                                       Trans. Date: Nov 20.202312:30PM                                     Cashier ID: #ZC

 CD       Purpose Code                                Case/Party/Defendant                      Qty                   Price               Amt


 203      Notice of Appeai/Docketing Fee                                                         1                  505.00             505.00




 CD       Tender Type                                                                                                                     Amt


 PC       Paper Check Conversion                       #1003                       10/24/2023                                         $505.00

                                                                                     Total Due Prior to Payment:                      $505.00

                                                                                                 Total Tendered:                      $505.00

                                                                                            Total Cash Received:                        $0.00

                                                                                          Cash Change Amount:                           $0.00

 Comments: l:22-cv-204




 Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee
 will be charged for a returned check.
